Case 1:22-cr-00004-BPG Document1 Filed 01/12/22 Page1of1

PMC/AET 2020R00150
JTM 12.14.21

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

UNITED STATES OF AMERICA * ¢ 2, U
* CRIMINAL NO. APC ZCL0 00
Vv. ve
“ (Toxic Substances Control Act,
DAVID GILLIS, * 15 U.S.C. §§ 2615(b), 2689; Aiding
* and Abetting, 18 U.S.C. § 2)
Defendant *
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COUNT ONE AT BALTIMORE
(Toxic Substances Control Act) OE OS OST TLAND
BY DEPUTY

The United States Attorney for the District of Maryland charges that:

From at least in or about December 2016 and continuing though in or about December
2017, in the District of Maryland, the defendant,

DAVID GILLIS,

did knowingly and willfully fail to comply and cause others to fail to comply with the work practice
standards for lead-based paint activities set forth in 40 C.F.R. Part 745 and the Code of Maryland
Regulations, Chapter 26.16.02.05, to wit: fail to test for the presence of lead-based paint in all
required areas and components of target housing; fail to document the presence of lead-based paint
in target housing; and issue a certificate of lead-free housing without verifying that all painted
interior and exterior surfaces of the property were lead free.
15 U.S.C. §§ 2615(b), 2689
40 C.F.R. § 745.227

COMAR 26.16.02.05A
18 U.S.C. §2

Erek L. Barron
United States Attorney

January 12, 2022
